                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                        AT KNOXVILLE



 UNITED STATES OF AMERICA,                           )
                                                     )
                         Plaintiff,                  )
                                                     )
 v.                                                  )              No. 3:07-CR-126
                                                     )
 JOE DENNIS SMITH, JR.,                              )              (PHILLIPS/SHIRLEY)
                                                     )
                         Defendant.                  )



                                  MEMORANDUM AND ORDER

                 This case came before the Court on March 26, 2009, for a hearing on the defense

 counsel’s Motion to Withdraw [Doc. 189], which was referred [Doc. 196] to the undersigned on

 March 19, 2009. See 28 U.S.C. § 636(b). Assistant United States Attorney Kelly Ann Norris

 represented the government. The defendant’s retained counsel, Attorney Tommy K. Hindman,

 appeared on behalf of the defendant, who was also present.

                 In the motion, Mr. Hindman asks to withdraw from representation of the defendant

 due to problems communicating, meeting, and cooperating with the defendant. At the hearing, Mr.

 Hindman stated that the defendant had retained him to defend a Monroe County drug action. After

 the defendant was indicted in the present case on federal charges related to those state charges, he

 continued to represent the defendant even though the defendant could not afford to pay him for his

 representation in the federal case. Mr. Hindman stated that his relationship with the defendant had

 deteriorated over the past couple of months. He believed that the defendant no longer trusted him,

 that this breach of trust could not be repaired, and that it would be in everyone’s best interest if the




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 defendant received a new attorney. The defendant agreed that his relationship with his attorney had

 deteriorated, that he no longer trusted his attorney, and that he had lost confidence in Mr. Hindman.

 He asked the Court to appoint him a new attorney.

                Based upon the defendant’s and Mr. Hindman’s comments at the hearing, the Court

 finds that the trust necessary for an adequate defense no longer exists in the attorney-client

 relationship, that communications between the defendant and counsel have broken down, and that

 the situation is unlikely to improve. Accordingly, the Court finds that good cause exists to grant the

 Motion to Withdraw [Doc. 189], the same is GRANTED, and Mr. Hindman is relieved as counsel

 for the defendant. See Wilson v. Mintzes, 761 F.2d 275, 280 (6th Cir. 1985) (holding that a

 defendant seeking to substitute counsel must show good cause).

                The defendant submitted a Financial Affidavit, which the Court reviewed and

 accepted. Based upon the Financial Affidavit, the Court finds that the defendant qualifies for

 appointed counsel. Attorney Ruth Thompson Ellis was present in the courtroom and agreed to

 accept representation of the defendant. The Court SUBSTITUTES and APPOINTS Ms. Ellis

 under the Civil Justice Act (CJA) as counsel of record for the defendant. Mr. Hindman is directed

 to turn over the defendant’s file and any discovery to Ms. Ellis as expeditiously as possible.

                Accordingly, it is ordered:

                (1) Defense counsel’s Motion to Withdraw [Doc. 189] is
                GRANTED, and




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            (2) Attorney Ruth Thompson Ellis is SUBSTITUTED and
            APPOINTED under the Civil Justice Act (CJA) as counsel of record
            for the defendant.

            IT IS SO ORDERED.

                                               ENTER:


                                                 s/ C. Clifford Shirley, Jr.
                                               United States Magistrate Judge




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